

People v Sanchez (2022 NY Slip Op 05508)





People v Sanchez


2022 NY Slip Op 05508


Decided on October 04, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 04, 2022

Before: Gische, J.P., Friedman, Scarpulla, Rodriguez, Higgitt, JJ. 


Ind. No. 3559/18 Appeal No. 16329 Case No. 2021-02305 

[*1]The People of the State of New York, Respondent,
vRicardo Sanchez, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



Order, Supreme Court, New York County (Robert M. Mandelbaum, J.), entered on or about June 21, 2021, which adjudicated defendant a risk level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court correctly assessed points under the risk factor for unsatisfactory conduct while confined, based on a tier III infraction that was sufficiently recent, in that it occurred about 7 months before the preparation of the case summary and 11 months before the hearing. Furthermore, it represented a pattern of serious misconduct.
The court providently exercised its discretion in declining to grant a downward departure (see generally People v Gillotti, 23 NY3d 841, 861 [2014]). The mitigating factors cited by defendant, including the fact that he will receive special supervision under an Assisted Outpatient Treatment program, were adequately accounted for in the risk assessment instrument, or were outweighed by defendant's risk of reoffense as indicated by his history of sex offenses and related mental illness. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 4, 2022








